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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




FLIPPO CONSTRUCTION COMPANY INC.,

                                Plaintiff

                -v.-                                              Case No.: 14-00491 BAH

OMNI EXCAVATORS, INC., et al. ,

                                Defendants



                                 STIPULATION OF DISMISSAL

        Plaintiff Flippo Construction Company, Inc. (“Flippo”) and Defendants Aegis Security
Insurance Company (“Aegis”) and Omni Excavators, Inc., by their undersigned attorneys and
pursuant to Fed. R. Civ. P. 41(a), join in submitting this Stipulation of Dismissal. Please dismiss
this matter in its entirety and with prejudice, including both the Complaint and Counterclaim
filed herein. All of the parties to this case join this Stipulation.


                                                Respectfully submitted,


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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of May, 2016, a copy of the foregoing Joint
Stipulation of Dismissal was filed through the court’s ECF system which caused service to be
made on counsel for Defendants Omni Excavators, Inc. and Aegis Security Ins. Co.:

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